Case 1:20-cv-03962-LJL Document 75-9 Filed 09/08/20 Page 1 of 19




                Exhibit I
         Case 1:20-cv-03962-LJL Document 75-9 Filed 09/08/20 Page 2 of 19



                           IN THE UNITED STATES DISTRICT COURT
                         FOR THE SOUTHERN DISTRICT OF NEW YORK


 PAUL CULBERTSON, KATHY NEAL,
 KELLY ALLISON-PICKERING, JESSICA                     Case No.: 1:20-cv-3962 (lead case)
 HAIMAN, ALEXANDER CABOT, BRIANA                      Consolidated with
 JULIUS, NICHELLE NEWLAND,                            Case No.: 1:20-cv-4129
 BERNADETTE NOLEN and ALEXANDRIA                      Case No.: 1:20-cv-4077
 POLICHENA, individually and on behalf of all         Case No.: 1:20-cv-4362
 others similarly situated,                           Case No.: 1:20-cv-5070

                  Plaintiffs,

                  v.

 DELOITTE CONSULTING LLP,

                  Defendant.




                       DECLARATION OF THOMAS A. ZIMMERMAN, JR.

        I, Thomas A. Zimmerman, Jr., hereby declare as follows:

        1.      I have personal knowledge of the facts stated in this Declaration and, if called to

testify, I could and would testify to the matters stated herein.

        2.      I am the owner of Zimmerman Law Offices, P.C. (“ZLO”), and am one of the

attorneys for the Plaintiffs in this matter.

                  Background and Experience of Thomas A. Zimmerman, Jr.

        3.      I am an attorney with extensive experience representing plaintiffs in class action

litigation. I have particular expertise in handling class actions, such as the present case, alleging

privacy violations. To demonstrate my qualifications, I will summarize my background and

qualifications. I also refer the Court to the ZLO Firm Resume, which is attached DV([KLELW


          Case 1:20-cv-03962-LJL Document 75-9 Filed 09/08/20 Page 3 of 19




         4.    I received my Bachelor of Science Degree from the University of Illinois and my

M.B.A. in Finance from DePaul University. I earned my law degree from the Chicago-Kent College

of Law, where I was a Ramsey-Burke Scholarship recipient and earned the Academic Achievement

Award.

         5.    I am a member in good standing of the Illinois State Bar and the bar of the United

States District Court for the Northern District of Illinois. I am also admitted to practice before the

United States Supreme Court, the United States Court of Appeals for the Sixth and Seventh Circuits,

and various other federal district courts. Beyond this case, I have also been admitted pro hac vice

and have appeared before trial courts in a number of different federal and state jurisdictions.

         6.    I have been a litigator for almost 24 years and I practice extensively and have

obtained multi-million dollar jury verdicts in class action, corporate, commercial, medical

malpractice, consumer fraud, general civil, product liability, toxic tort, and other complex litigation.

I represent both plaintiffs and defendants nationwide in state and federal trial and appellate courts.

I also represent individuals and corporations in transactional matters, and before state and federal

administrative and regulatory agencies.

         7.    I have been lead counsel in national and statewide class action litigation, and have

handled multi-party litigation involving such companies as MCI/Worldcom, United Airlines,

Peoples Gas, AT&T, Warner-Lambert, Pfizer, Liberty Mutual Insurance Co., DaimlerChrysler,

Commonwealth Edison, Ameritech, Bridgestone/Firestone, and ADT Corporation. I also represent

physicians, dentists, nurses, psychologists, veterinarians, and many other licensed professionals

before state and federal agencies including the Illinois Department of Financial and Professional

Regulation, and the U.S. Department of Health and Human Services.




                                                   2
         Case 1:20-cv-03962-LJL Document 75-9 Filed 09/08/20 Page 4 of 19




       8.      In 2017, 2018, 2019 and 2020, I was selected as a Super Lawyer in the area of class

action and mass torts.

       9.      In 2000, I was voted one of the Top 40 Illinois Attorneys Under the Age of 40. This

is especially notable, as I was chosen out of 60,000 attorneys in Illinois under the age of forty.

       10.     In 2003, the Illinois Supreme Court appointed me to the Review Board of the

Attorney Registration and Disciplinary Commission (“ARDC”). I served in that capacity until

2011, wherein I presided over appeals by attorneys who have been found to have committed

misconduct, and recommended discipline for their ethical violations. In 2013, the ARDC appointed

me as Special Counsel, wherein I conduct independent investigations in matters involving

allegations of misconduct against attorneys associated with the ARDC.

       11.     Additionally, the Illinois Governor appointed me to the Illinois Courts Commission.

A Commission member presides over proceedings wherein judges are charged with committing

ethical violations, and imposes discipline on judges who are found to have engaged in misconduct.

       12.     I have served as class counsel or on the plaintiffs’ executive committee in dozens of

nationwide and statewide class actions, including but not limited to the following actions:

               x   Misleading Product Claims — $62 million recovery for a nationwide class of
                   customers who purchased products that were advertised to reduce cellulite in the
                   human body, plus equitable relief to correct the misleading claims. Joseph v.
                   Beiersdorf North America, Inc., No. 11 CH 20147 (Cook Cnty, Ill.).

               x   Improper Cellular Phone Fee — $48 million recovery for a statewide class of
                   businesses and individuals who paid an improper municipal infrastructure
                   maintenance fee on their cellular phone bills.         PrimeCo Personal
                   Communications, et al. v. Illinois Commerce Commission, et al., 98 CH 5500
                   (Cook Cnty, Ill.).

               x   Defective Vehicles — $35 million in monetary and injunctive relief for a
                   nationwide class of individuals and businesses who purchased vehicles
                   manufactured with a defective transmission. Vargas, et al. v. Ford Motor Co.,
                   No. 12 cv 8388 (C.D. Cal.).



                                                  3
Case 1:20-cv-03962-LJL Document 75-9 Filed 09/08/20 Page 5 of 19




    x   Fraud — $31 million recovery for a nationwide class of businesses and
        individuals who placed advertisements in a newspaper based on fraudulent
        circulation figures. In re Chicago Sun-Times Circulation Litigation, No. 04 CH
        9757 (Cook Cnty, Ill.).

    x   Misleading Product Claims — $14 million recovery for a nationwide class of
        customers who purchased defective garden hoses with misleading claims, plus
        equitable relief to extend the product’s warranty. Bergman, et al. v. DAP
        Products, Inc., et al., No. 14 cv 3205 (D. Md.).

    x   Fraud / Data Breach — $11.2 million recovery for a nationwide class of
        individuals who had their personal and financial data stolen due to insufficient
        protection of that information by an internet service provider, and who also paid
        money to that provider based on misrepresentations. In re Ashley Madison
        Customer Data Security Breach Litigation, MDL No. 2669 (E.D. Mo.).

    x   Defective Products — $9 million recovery for a nationwide class of individuals
        who sustained financial and personal injuries resulting from their purchase and
        use of baby wipes that were tainted with a dangerous bacteria. Jones v. First
        Quality Enterprises, Inc., et al., No. 14 cv 6305 (E.D. NY).

    x   Power Outages — $7.75 million recovery for a statewide class of businesses and
        individuals who sustained financial damages due to widespread and prolonged
        power outages. In re Commonwealth Edison 1999 Summer Power Outages, No.
        99 CH 11626 (Cook Cnty, Ill.).

    x   Privacy Violation — $7.3 million recovery for a nationwide class of consumers
        whose personal information was improperly disclosed. Aliano v. Airgas USA,
        LLC, No. 14 CH 20024 (Cook Cnty, Ill.).

    x   Unsolicited Faxes — $4 million recovery for a nationwide class of businesses
        and individuals who sustained damages resulting from the receipt of unsolicited
        facsimile advertisements. Derose Corp. v. Goyke Health Center, 06 CH 6681
        (Cook Cnty, Ill.).

    x   Fraud — $3.5 million recovery for a nationwide class of Spanish speaking
        purchasers of baby formula, arising out of misleading product labeling.
        Cardenas v. Mead Johnson & Company, No. 01 CH 11151 (Cook Cnty, Ill.).

    x   Unsolicited Faxes — $2.5 million recovery for a statewide class of individuals
        and businesses who sustained damages resulting from the receipt of unsolicited
        facsimile advertisements. iMove Chicago, Inc. v. Inland Bancorp, Inc., et al.,
        No. 16-cv-10106 (N.D. Ill.).

    x   Misleading Product Labeling — $2.5 million recovery for a nationwide class of
        businesses and individuals who purchased whiskey whose labeling misstated the


                                      4
Case 1:20-cv-03962-LJL Document 75-9 Filed 09/08/20 Page 6 of 19




        characteristics of the product. Due Fratelli, Inc. v. Templeton Rye Spirits, LLC,
        No. 2014 CH 15667 (Cook Cnty, Ill.).

    x   Misrepresentations in Book — $2.35 million recovery for a nationwide class of
        customers who purchased a fictional book while under the impression that the
        book was a non-fiction memoir. In re A Million Little Pieces Litigation, No. 06-
        md-1771 (S.D. NY).

    x   Consumer Fraud — $1.6 million recovery for a nationwide class of individuals
        who paid for and traveled to an event that did not occur as advertised. Norton v.
        Niantic, Inc., No. 2017 CH 10281 (Cook Cnty, Ill.).

    x   Misleading Product Labeling — $1.5 million recovery for a nationwide class of
        individuals who purchased a product whose packaging misstated the
        characteristics of the product. In re Honest Company Sodium Lauryl Sulfate
        (SLS) Marketing and Sales Practices Litigation, MDL No. 2719 (C.D. Cal.).

    x   Improper Debiting of Bank Accounts — $1.5 million recovery for a statewide
        class of individuals who were members of a health club that debited its members’
        bank accounts without adequate notice or authority. Wendorf, et al. v. Landers,
        et al., No. 10 cv 1658 (N.D. Ill.).

    x   Environmental Contamination — $1.4 million recovery for a statewide class of
        individuals and businesses who suffered from an infiltration of coal and
        petroleum coke dust in the air and on their property. Martin, et al. v. KCBX
        Terminals Company, et al., No. 13 cv 08376 (N.D. Ill.).

    x   Misleading Product Claims — $1.4 recovery for a nationwide class of
        individuals and businesses who purchased HDMI cables based on
        representations that more expensive higher speed cables were needed to operate
        certain audio visual equipment. O’Brien, et al. v. Monster, Inc., et al., No. 2015
        CH 13991 (Cook Cnty, IL).

    x   School Misrepresenting Accreditation — $1.2 million recovery, representing
        nearly the full value of each class member’s loss, for a statewide class of
        individuals who enrolled in a school based on the school’s misrepresentations
        that it was accredited. Allen v. Illinois School of Health Careers, Inc., No. 10
        CH 25098 (Cook Cnty, Ill.).

    x   Privacy Violation — $1 million recovery for a nationwide class of consumers
        whose personal information was improperly disclosed. Radaviciute v. Christian
        Audigier, Inc., No. 10 cv 8090 (N.D. Ill.).




                                      5
Case 1:20-cv-03962-LJL Document 75-9 Filed 09/08/20 Page 7 of 19
Case 1:20-cv-03962-LJL Document 75-9 Filed 09/08/20 Page 8 of 19




                Exhibit 1
        Case 1:20-cv-03962-LJL Document 75-9 Filed 09/08/20 Page 9 of 19




                             ZIMMERMAN LAW OFFICES, P.C.


Since 1996, Zimmerman Law Offices has represented individuals and businesses in a wide array
of legal matters. Its attorneys are established and respected trial lawyers who represent clients in
complex litigation and class action lawsuits nationwide. The firm has an extensive and varied
litigation-based practice, with a focus on class action litigation. Zimmerman Law Offices has
recovered over $250 million on behalf of millions of individuals and businesses nationwide.

The attorneys at Zimmerman Law Offices are experienced in Multidistrict Litigation (MDL),
having served as lead counsel in MDL cases throughout the country. These MDL cases included
claims for fraud, improper pricing, misleading product claims, and privacy violations including
data breaches.


                                          ATTORNEYS

Thomas A. Zimmerman, Jr.

A seasoned litigator for over 24 years, Mr. Zimmerman practices extensively and has obtained
multi-million dollar jury verdicts in class action, corporate, commercial, medical malpractice,
consumer fraud, constitutional due process, general civil, product liability, toxic tort, and other
complex litigation. He represents both plaintiffs and defendants nationwide in state and federal
trial and appellate courts. He also represents individuals and corporations in transactional matters,
and before state and federal administrative and regulatory agencies.

Mr. Zimmerman has been lead counsel in national and state-wide class action litigation, and has
handled other multi-party litigation involving such companies as MCI/Worldcom, United Airlines,
Peoples Gas, AT&T, Warner-Lambert, Pfizer, Liberty Mutual Insurance Co., DaimlerChrysler,
ADT, Ford Motor Co., Mead Johnson, KCBX, Inland Bank, Commonwealth Edison, Ameritech,
Wells Fargo, and Bridgestone/Firestone. He is well respected for his representation of physicians,
dentists, nurses, psychologists, veterinarians, and many other licensed professionals before state
and federal agencies including the Illinois Department of Financial and Professional Regulation,
and the U.S. Department of Health and Human Services.

In 2017, 2018, 2019 and 2020, he was selected as a Super Lawyer in the area of class action and
mass torts.

In 2000, he was voted one of the Top 40 Illinois Attorneys Under the Age of 40. This is especially
notable, as he was chosen out of 60,000 attorneys in Illinois under the age of forty.

In 2003, the Illinois Supreme Court appointed Mr. Zimmerman to the Review Board of the
Attorney Registration and Disciplinary Commission (“ARDC”). He served in that capacity until
2011, wherein he presided over appeals by attorneys who have been found to have committed
misconduct, and recommended discipline for their ethical violations. In 2013, the ARDC




                                           EXHIBIT A
       Case 1:20-cv-03962-LJL Document 75-9 Filed 09/08/20 Page 10 of 19




appointed Mr. Zimmerman as Special Counsel, wherein he conducts independent investigations in
matters involving allegations of misconduct against attorneys associated with the ARDC.

Additionally, the Illinois Governor appointed Mr. Zimmerman to the Illinois Courts Commission
in 2003. A Commission member presides over proceedings wherein judges are charged with
committing ethical violations, and imposes discipline on judges who are found to have engaged in
misconduct. Mr. Zimmerman has served as a Commission member continuously since his
appointment.

Prior to becoming an attorney, Mr. Zimmerman worked for AT&T where he negotiated
partnerships with companies for domestic and international joint-venture and new product
development activities. During this time, he was the featured speaker at 400 conferences, seminars,
and presentations. Thereafter, he presented oral testimony at various Federal Senate and
Congressional hearings. After obtaining his law license, Mr. Zimmerman has lectured at law
schools and seminars, and is frequently interviewed by the news media concerning legal issues.

Mr. Zimmerman earned a B.S. in Computer Science-Mathematics from the University of Illinois,
and an M.B.A. in Finance from DePaul University in the evenings while working for AT&T. After
leaving AT&T, Mr. Zimmerman earned his law degree from the Chicago-Kent College of Law,
where he was a Ramsey-Burke Scholarship recipient and earned the Academic Achievement
Award.

He is admitted to practice law in Illinois, and other states on a case-by-case basis, and he is
admitted to practice before the U.S. Supreme Court, and various federal courts of appeal and
federal district courts. Based on his demonstrated experience and ability, he was appointed to the
federal court trial bar.

Mr. Zimmerman is currently the chair of the Clerk of the Circuit Court of Cook County Attorney
Advisory Committee, and was formerly co-chair of the Clerk of the Circuit Court Transition and
Strategic Planning Public Policy Subcommittee.

Mr. Zimmerman is a member of the American, Illinois State, and Chicago Bar Associations, and
the Illinois Trial Lawyers Association, where he serves on various committees. He is also a
member of the American Association for Justice. In 2000, he was appointed to the Illinois Trial
Lawyers Association Board of Advocates.

Involved in numerous community service activities, Mr. Zimmerman has been an Illinois State
Board of Education surrogate parent of disabled children since 1988. In addition, he was a speaker
on the rights of disabled people for the Illinois Planning Council on Developmental Disabilities,
and a Family Shelter Service counselor to battered children for many years. He has been
recognized by the federal court for his pro bono representation of indigent clients.




                                                2
        Case 1:20-cv-03962-LJL Document 75-9 Filed 09/08/20 Page 11 of 19




Sharon A. Harris

Ms. Harris has extensive experience litigating complex class action matters in state and federal
trial and appellate courts nationwide. She has focused her practice on consumer protection, product
liability, privacy, and antitrust matters. Ms. Harris has developed a particular expertise in state
unfair and deceptive practice statutes, data breach laws, privacy laws, federal antitrust laws, the
Fair Credit Reporting Act, the Racketeer Influenced and Corrupt Organizations Act (RICO), the
Telephone Consumer Protection Act, and various other federal and state laws. She has been
appointed class counsel in numerous cases. For example, she was appointed one of class counsel
in In re Pilot Flying J Fuel Rebate Contract Litigation, which involved allegations that the
defendants violated RICO and various state laws by withholding portions of fuel discounts and
rebates to which class members were contractually entitled. A settlement was granted final
approval. Ms. Harris was also appointed class counsel in a class action lawsuit, Norton, et al. v.
Niantic, Inc., No. 2017 CH 10281 (Cir. Ct. Cook Cty., Ill.), and helped negotiate a $1.75 million
settlement on behalf of attendees at the 2017 Pokémon GO Fest in Chicago that were unable to
play the game during the fest due to technical and other issues. Additionally, Ms. Harris was
appointed class counsel in a class action lawsuit, Miller, et al. v. Inteleos, Inc., No. 1:17-cv-00763-
DAP (N.D. Ohio), on behalf of individuals who took a Registered Vascular Technology (RVT)
examination and passed the examination but received an incorrect failing score. The settlement
she helped negotiate was granted final approval by the Court.

She received her Bachelor of Science degree from Michigan State University with a dual major in
Political Science and Social Science. Ms. Harris received her law degree from DePaul University
College of Law. She is a member of the American, Illinois State, and Chicago Bar Associations.
She is admitted to practice in the State of Illinois, the United States District Court for the Northern
District of Illinois, the United States District Court for the Northern District of Indiana, and the
United States Courts of Appeals for the Seventh and Ninth Circuits.

Matthew C. De Re

Mr. De Re advocates for both plaintiffs and defendants nationwide in state and federal trial and
appellate courts. His practice areas include class action, corporate, commercial, consumer fraud,
general civil, product liability, personal injury, and other complex litigation. He also represents
professionals, such as physicians, dentists, nurses, insurance producers, and real estate brokers,
before state and federal agencies, including the Illinois Department of Financial and Professional
Regulation and the Department of Insurance. In addition to his extensive litigation practice, Mr.
De Re assists individuals and corporations in transactional matters.

He has experience in all phases of litigation, including extensive discovery and substantive motion
practice. He has assisted in the defense of individuals and companies in cases involving personal
injury, employment, and civil rights. Mr. De Re has also vigorously pursued recovery for plaintiffs
in numerous civil matters. Prior to joining Zimmerman Law Offices, he served as a Law Clerk for
the Circuit Court of Cook County.

Mr. De Re graduated from the University of Wisconsin-Madison with a B.S. in both Political
Science and History. He earned his law degree from Washington University in St. Louis. While in

                                                  3
        Case 1:20-cv-03962-LJL Document 75-9 Filed 09/08/20 Page 12 of 19




law school, he received academic awards and appeared on the Dean’s List multiple times. He also
served two years on the Executive Board of the Student Bar Association and was the Associate
Managing Editor for the Washington University Journal of Law & Policy.

He is admitted to practice law in the State of Illinois and is a member of the Illinois State and
Chicago Bar Associations.

Jeffrey D. Blake

Mr. Blake represents consumers in class actions involving unfair and deceptive trade practices,
privacy violations, antitrust matters, and defective products. He has considerable experience
prosecuting complex cases in state and federal courts throughout the nation, including appeals.

Mr. Blake received his J.D., cum laude, from the Chicago-Kent College of Law in 2012. While
attending, Mr. Blake served as Executive Articles Editor for the Chicago-Kent Law Review, spent
a semester as a judicial extern for the Honorable Samuel Der-Yeghiayan of the United States
District Court for the Northern District of Illinois, and participated in the Intellectual Property Law
Clinic and the Center for Open Government.

After graduating law school, Mr. Blake served as the judicial law clerk for the Honorable Patrick
McKay, Superior Court Judge for the Third Judicial District in Anchorage, Alaska.

Mr. Blake received a Bachelor of Science from the University of Illinois at Chicago.

He is admitted to practice in the State of Illinois and the United States District Court for the
Northern District of Illinois.

Jordan M. Rudnick (of counsel)

Mr. Rudnick represents individuals and large national and international companies in providing
business advice, counsel and dispute resolution in a wide variety of contexts for almost 20
years. In particular, Mr. Rudnick represents plaintiffs and defendants nationwide in class action,
corporate, commercial, consumer fraud, general civil, and other complex litigation in state and
federal courts, arbitrations, and mediations. Mr. Rudnick has been involved in all phases of
litigation, including extensive discovery, substantive motion practice, trials and appeals.

His experience as an attorney also includes representing parties in nationwide securities fraud class
actions. Notably, Mr. Rudnick represented Canadian Imperial Bank of Commerce in the Enron
class action securities litigation and related proceedings. He also has extensive experience
representing commercial policyholders in recovering insurance proceeds from their insurers.

Mr. Rudnick serves as an arbitrator for FINRA (Financial Industry Regulatory Authority, formerly
known as the NASD or National Association of Securities Dealers) where he and panels of two
other arbitrators decide the outcome of disputes between investors and securities brokers and
dealers.



                                                  4
       Case 1:20-cv-03962-LJL Document 75-9 Filed 09/08/20 Page 13 of 19




He has provided extensive pro bono representation of improperly-expelled school children in
conjunction with the Legal Assistance Foundation of Metropolitan Chicago, and with the Chicago
Coalition for the Homeless. In addition, in his spare time, he is a volunteer at the Lincoln Park
Community Homeless Shelter.

Mr. Rudnick served as a judicial law clerk to the Honorable Justice Joseph Gordon, Illinois
Appellate Court, 1st District, where he drafted opinions in appeals arising from complex civil and
criminal trial court decisions.

Mr. Rudnick earned his B.A. in Political Science from the University of Chicago, and he graduated
cum laude from the John Marshall Law School with honors and on a full scholarship. In law
school, he appeared on the Dean’s List, and he was a member of the school’s Moot Court Team.
He also was a Staff Editor on the John Marshall Law Review for two years.

He is admitted to practice law in Illinois, New York, and Washington, D.C., and is a member of
the Chicago Bar Association, NAACP, and ACLU.


                       REPRESENTATIVE CLASS ACTION CASES

Completed Cases

Misleading Product Claims — $62 million recovery for a nationwide class of customers who
purchased products that were advertised to reduce cellulite in the human body, plus equitable relief
to correct the misleading claims. Joseph v. Beiersdorf North America, Inc., No. 11 CH 20147
(Cook Cnty, IL).

Improper Cellular Phone Fee — $48 million recovery for a statewide class of businesses and
individuals who paid an improper municipal infrastructure maintenance fee on their cellular phone
bills. PrimeCo Personal Communications, et al. v. Illinois Commerce Commission, et al., 98 CH
5500 (Cook Cnty, IL).

Defective Vehicles — $35 million in monetary and injunctive relief for a nationwide class of
individuals and businesses who purchased vehicles manufactured with a defective transmission.
Vargas, et al. v. Ford Motor Co., No. 12 cv 8388 (C.D. CA).

Fraud — $31 million recovery for a nationwide class of businesses and individuals who placed
advertisements in a newspaper based on fraudulent circulation figures. In re Chicago Sun-Times
Circulation Litigation, No. 04 CH 9757 (Cook Cnty, IL).

Defective Products — $16 million recovery for a nationwide class of individuals who purchased
defective home security systems that could be easily hacked and disabled. Edenborough v. ADT,
LLC, et al., No. 16 cv 2233 (N.D. CA).




                                                 5
        Case 1:20-cv-03962-LJL Document 75-9 Filed 09/08/20 Page 14 of 19




Misleading Product Claims — $14 million recovery for a nationwide class of customers who
purchased defective garden hoses with misleading claims, plus equitable relief to extend the
product’s warranty. Bergman, et al. v. DAP Products, Inc., et al., No. 14 cv 3205 (D. MD).

Fraud / Data Breach — $11.2 million recovery for a nationwide class of individuals who had their
personal and financial data stolen due to insufficient protection of that information by an internet
service provider, and who also paid money to that provider based on misrepresentations. In re
Ashley Madison Customer Data Security Breach Litigation, MDL No. 2669 (E.D. MO).

Defective Products — $9 million recovery for a nationwide class of individuals who sustained
financial and personal injuries resulting from their purchase and use of baby wipes that were
tainted with a dangerous bacteria. Jones v. First Quality Enterprises, Inc., et al., No. 14 cv 6305
(E.D. NY).

Power Outages — $7.75 million recovery for a statewide class of businesses and individuals who
sustained financial damages due to widespread and prolonged power outages. In re
Commonwealth Edison 1999 Summer Power Outages, No. 99 CH 11626 (Cook Cnty, IL).

Privacy Violation — $7.3 million recovery for a nationwide class of consumers whose personal
information was improperly disclosed. Aliano v. Airgas USA, LLC, No. 14 CH 20024 (Cook Cnty,
IL).

Data Breach — $4.3 million recovery for a nationwide class of individuals who had their personal
and financial data stolen due to insufficient protection of that information by a retailer. In re Sonic
Corp. Customer Data Breach Litigation, MDL No. 2807 (N.D. OH).

Unsolicited Faxes — $4 million recovery for a nationwide class of businesses and individuals who
sustained damages resulting from the receipt of unsolicited facsimile advertisements. Derose Corp.
v. Goyke Health Center, 06 CH 6681 (Cook Cnty, IL).

Fraud — $3.5 million recovery for a nationwide class of Spanish speaking purchasers of baby
formula, arising out of misleading product labeling. Cardenas v. Mead Johnson & Company, No.
01 CH 11151 (Cook Cnty, IL).

Unsolicited Faxes — $2.5 million recovery for a statewide class of individuals and businesses who
sustained damages resulting from the receipt of unsolicited facsimile advertisements. iMove
Chicago, Inc. v. Inland Bancorp, Inc., et al., No. 16-cv-10106 (N.D. IL)

Misleading Product Labeling — $2.5 million recovery for a nationwide class of businesses and
individuals who purchased whiskey whose labeling misstated the characteristics of the product.
Due Fratelli, Inc. v. Templeton Rye Spirits, LLC, No. 2014 CH 15667 (Cook Cnty, IL).

Misrepresentations in Book — $2.35 million recovery for a nationwide class of customers who
purchased a fictional book while under the impression that the book was a non-fiction memoir. In
re A Million Little Pieces Litigation, No. 06-md-1771 (S.D. NY).



                                                  6
       Case 1:20-cv-03962-LJL Document 75-9 Filed 09/08/20 Page 15 of 19




Consumer Fraud — $1.6 million recovery for a nationwide class of individuals who paid for and
traveled to an event that did not occur as advertised. Norton v. Niantic, Inc., No. 2017 CH 10281
(Cook Cnty, IL).

Misleading Product Labeling — $1.5 million recovery for a nationwide class of individuals who
purchased a product whose packaging misstated the characteristics of the product. In re Honest
Company Sodium Lauryl Sulfate (SLS) Marketing and Sales Practices Litigation, MDL No. 2719
(C.D. CA).

Improper Debiting of Bank Accounts — $1.5 million recovery for a statewide class of individuals
who were members of a health club that debited its members’ bank accounts without adequate
notice or authority. Wendorf, et al. v. Landers, et al., No. 10 cv 1658 (N.D. IL).

Environmental Contamination — $1.4 million recovery for a statewide class of individuals and
businesses who suffered from an infiltration of coal and petroleum coke dust in the air and on their
property. Martin, et al. v. KCBX Terminals Company, et al., No. 13 cv 08376 (N.D. IL).

Misleading Product Claims — $1.4 recovery for a nationwide class of individuals and businesses
who purchased HDMI cables based on representations that more expensive higher speed cables
were needed to operate certain audio visual equipment. O’Brien, et al. v. Monster, Inc., et al., No.
2015 CH 13991 (Cook Cnty, IL).

School Misrepresenting Accreditation — $1.2 million recovery, representing nearly the full value
of each class member’s loss, for a statewide class of individuals who enrolled in a school based on
the school’s misrepresentations that it was accredited. Allen v. Illinois School of Health Careers,
Inc., No. 10 CH 25098 (Cook Cnty, IL).

Privacy Violation — $1 million recovery for a nationwide class of consumers whose personal
information was improperly disclosed. Radaviciute v. Christian Audigier, Inc., No. 10 cv 8090
(N.D. IL).

Breach of Contract — $570,000 recovery for a nationwide class of sonographers who took and
passed a certification examination but the testing agency improperly scored their results and falsely
reported that they failed the examination. Miller, et al. v. Inteleos, Inc., No. 17 cv 763 (N.D. OH).

Privacy Violation — $500,000 recovery for a statewide class of consumers whose personal
information was improperly disclosed. Aliano v. Joe Caputo and Sons – Algonquin, Inc., et al.,
No. 09 cv 0910 (N.D. IL).

Contaminated Drinking Water — $500,000 recovery for a statewide class of individuals who
suffered damages as a result of a contaminated water well, plus equitable relief to close the well.
Joseph Marzano v. Village of Crestwood, No. 09 CH 16096 (Cook Cnty, IL).

Fraud — $425,000 recovery for a nationwide class of businesses and individuals who purchased
spirits whose labeling misstated the characteristics of the product. Due Fratelli, Inc. v. Proximo
Spirits, Inc., No. 2014 CH 17429 (Cook Cnty, IL).

                                                 7
        Case 1:20-cv-03962-LJL Document 75-9 Filed 09/08/20 Page 16 of 19




Foreclosure Fraud — $425,000 recovery for a nationwide class of borrowers whose lender failed
to properly respond to qualified written requests, requests for information, and/or notices of error
because of an improper active litigation, active mediation, or active bankruptcy exception. Lieber
v. Wells Fargo Bank, N.A., No. 16 cv 2868 (N.D. OH).

Privacy Violation — $295,000 recovery for a nationwide class of consumers whose personal
information was improperly disclosed. Joseph v. Marbles, LLC, No. 13 cv 4798 (N.D. IL).

Privacy Violation — $250,000 recovery for a nationwide class of consumers whose personal
information was improperly disclosed. DiParvine v. A.P.S., Inc. d/b/a Car Quest Auto Parts, No.
11 cv 6116 (N.D. IL).

Unsolicited Faxes — $237,600 recovery for a statewide class of individuals and businesses who
sustained damages resulting from the receipt of unsolicited facsimile advertisements. Phillips
Randolph Enterprises, LLC v. Key Art Publishing Co., No. 07 CH 14018 (Cook Cnty, IL).

Improper Health Club Memberships — Recovery for a statewide class of individuals whose health
club membership agreements provided for improper membership terms. Izak-Damiecki v. World
Gym International, LLC, No. 10 CH 18845 (Cook Cnty, IL).

Illegal Lending Practices — Recovery, representing the maximum amount of statutory damages,
for a nationwide class of customers who obtained loans whose terms violated the Truth in Lending
Act, plus equitable relief to modify the loan contract to conform with the law. Papeck, et al. v.
T.N. Donnelly & Co., No. 09 CH 31997 (Cook Cnty, IL).

Privacy Violation — Recovery for a nationwide class of over 36 million consumers whose personal
information was improperly disclosed. Dudzienski v. GMRI, Inc., No. 07 cv 3911 (N.D. IL).

Unsolicited Faxes — Recovery for a statewide class of individuals and businesses who sustained
damages resulting from the receipt of unsolicited facsimile advertisements. Phillips Randolph
Enterprises, LLC v. Home Run Inn, Inc., No. 08 CH 43273 (Cook Cnty, IL).

Privacy Violation — Recovery for a statewide class of over 60,000 consumers whose personal
information was improperly disclosed. O'Brien v. Paninos, Inc., No. 10 cv 2991 (N.D. IL).

Breach of Warranty — Recovery on behalf of a nationwide class of customers who had their
warranty retroactively changed from a lifetime guarantee to a 90-day guarantee, plus equitable
relief to reinstate the lifetime guarantee on the products. Brady, et al. v. Learning Curve Int’l, Inc.,
et al., No. 06 CH 03056 (Cook Cnty, IL).

Privacy Violation — Recovery for a nationwide class of tens of thousands of consumers whose
personal information was improperly disclosed. In re Kathy Aliano v. Hancock Fabrics, Inc., No.
07-10353 (Del. BK).




                                                   8
       Case 1:20-cv-03962-LJL Document 75-9 Filed 09/08/20 Page 17 of 19




Improper Debt Collection — Recovery on behalf of a nationwide class of individuals against
whom attempts were made to collect a time-barred debt, in violation of the Fair Debt Collection
Practices Act. Ocasio v. First Financial Investment Fund V, LLC, et al., No. 15 cv 10167 (N.D.
IL).

Pending Cases — Preliminary Approval of Settlement Granted

Data Breach — Class action for a nationwide class of individuals who had their personal and
financial data stolen due to insufficient protection of that information by a restaurant chain.
Ramsey v. 41 E. Chestnut Crab Partners, LLC, et al., No. 19 CH 2759 (Cook Cnty., IL).

Constitutional Violation — Class action for a nationwide class of individuals who were subjected
to an unreasonable search. Ferrill v. Village of Villa Park, Illinois, No. 19 cv 6809 (N.D. IL).

Pending Cases — Appointed Class Counsel

Constitutional Violation — Class action for a nationwide class of individuals who were wrongfully
issued automated construction zone speed enforcement tickets on a highway that was not under
construction. Black, et al. v. City of Girard, Ohio, et al., No. 18 cv 1256 (Trumbull Cnty, OH).

Improper Fee — Class action for a statewide class of individuals who were charged an improper
fee by the state in connection with the issuance of a driver’s license. Madyda, et al. v. Ohio Dept.
of Public Safety, No. 19-426 (OH Ct. of Claims).

Invasion of Privacy — Class action for a nationwide class of individuals who were surreptitiously
viewed and recorded using the toilets in holding cells. Alicea, et al. v. County of Cook, No. 18 cv
5381 (N.D. IL).

Data Breach — Class action for a nationwide class of individuals whose personal and financial
information was compromised in a data breach of the state’s Pandemic Unemployment Assistance
website. Acker, et al. v. Protech Solutions, Inc., No. 20 cv 852 (E.D. AR).

Pending Cases — Appointed to Executive Committee

Misleading Product Claims — Class action for a nationwide class of individuals who purchased
defective cheese products based on misleading representations. In re 100% Grated Parmesan
Cheese Marketing and Sales Practices Litigation, MDL No. 2707 (N.D. IL).

Pending Cases

Fraud — Class action for a statewide class of individuals who were wrongfully issued automated
red light tickets by red light cameras that were installed in violation of state law.

Improper Court Fee — Class action for a nationwide class of individuals and businesses who were
charged an improper fee by the Clerk of the Court.



                                                 9
       Case 1:20-cv-03962-LJL Document 75-9 Filed 09/08/20 Page 18 of 19




Unpaid Overtime — Class action for a nationwide class of individuals who were not paid all wages
and premium overtime for hours worked in excess of forty hours per week.

Data Breach — Class action for a nationwide class of individuals who had their personal and
financial data stolen due to insufficient protection of that information by their employer.

Improper Debt Collection — Class action for a nationwide class of individuals who were sent
misleading debt collection letters, in violation of the Fair Debt Collection Practices Act.

Data Breach — Class action for a statewide class of individuals who had their personal, financial,
and medical data stolen due to insufficient protection of that information by a hospital.

Violation of RESPA Act — Class action for a nationwide class of borrowers who were denied the
requisite loan modification options, as required by the Real Estate Settlement Procedures Act.

Environmental Contamination — Class action for a statewide class of individuals who suffered
from an infiltration of lead and arsenic on their property.

Constitutional Violation — Class action for a nationwide class of individuals who were wrongfully
issued automated traffic speed enforcement tickets by a municipality that was denied authorization
to issue the tickets.

Invasion of Privacy — Class action for a nationwide class of individuals who received
unauthorized telemarketing calls to their phones.

Fraud — Class action for a nationwide class of individuals who purchased used cosmetics and
beauty products that were sold as new.

Breach of Contract — Class action for a statewide class of individuals who are members of athletic
clubs that unilaterally terminated their rewards program without notice.

Unpaid Wages — Class action for a statewide class of individuals who were not paid all of the
wages they earned while working at restaurants.

Antitrust — Class action for a nationwide class of individuals who purchased packaged seafood
products from companies that conspired to fix prices in violation of the Sherman Act.

Environmental Contamination — Class action for a statewide class of individuals whose
residential drinking water was contaminated with lead.

Constitutional Violation — Class action for a statewide class of individuals whose homes were
wrongfully taken by the government without adequate compensation.

Fraud — Class action for a nationwide class of individuals who paid inflated prices for tickets to
events due to improper coordination among ticket brokers.



                                               10
       Case 1:20-cv-03962-LJL Document 75-9 Filed 09/08/20 Page 19 of 19




Fraud — Class action for a nationwide class of individuals who were deliberately targeted through
marketing and sales of electronic cigarettes when they were minors.

Defective Product — Class action for a nationwide class of individuals who purchased misbranded
and adulterated pharmaceuticals.

Data Breach — Class action for a nationwide class of individuals who had their personal and
financial data stolen due to insufficient protection of that information by state governments.

Consumer Fraud — Class action for a statewide class of individuals who were denied loans due
to improper banking practices.

Shareholder Derivative Suit — Class action for a nationwide class of individuals against a
company due to breaches of fiduciary duties and insider trading.

Consumer Fraud — Class action for a nationwide class of individuals who paid inflated prices for
a product.




NOTE: This list of cases is a representative sample of some of the class action lawsuits. It is not
      an exhaustive list.




                                                11
